Case 1:05-cv-01038-.]DT-STA Document 23 Filed 06/17/05 Page 1 of 4 Page|D 17

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IN THE UNITED sTATEs DIsTRIcT coURT L_ H_ s
FOR THE wEsTERN DIsTRICT oF TENNEssEE UJJ=¢F¢ 17 Pli 31 55
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4 if US. U§ST. CT
MARVIN FORGUSON AND cRIsTIE FoRGUSON, .»j.;¢ TN_J|@__¢KQ@{`_J
PLAINTIFF
vs. Civil.ActionIUJ.1:05-1038-T/An

CALIFORNIA REO PROPERTY MANAGEMENT
CORP, TOWN & COUNTRY REAL ESTATE

CO., INC., a/k/a TOWN & COUNTRY
REALTORS, LICENSED AND d/b/a TOWN

& COUNTRY, INC., REALTORS GMAC, THE
COACH APPROACH REALTY, LLC, d/b/a
CRYE-LEIKE THE COACH APPROACH REALTY,
LLC, JOYCE SHEARIN, KELLY SHEARIN,
PAM FLEMING AND LARRY FLEMING,

DEFENDANTS

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
Monday, May 1, 2006l at 9:30 a.m. in the Federal Courtroom, Room
432 Fourth Floor, U. S. Courthouse, in Jackson, TN. A joint pre-
trial order must be submitted to the court by Fridayl April 21l
2006. All discovery must be completed before that date.

Counsel, and any party proceeding p;g §§, MUST confer and
attempt to prepare a joint pre-trial order which covers the items
set forth below. If a joint pre-trial order cannot be agreed.upon,
the attorneys must notify the court at least 10 days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney for each party or a ;mrty
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the
proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature
and amounts of damages;
4. specific facts that may be stipulated (possible

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sources of these agreed facts are the pleadings,
discovery, or admission of counsel);

5. contested issues of fact;

6. contested issues of law;

7. exhibits (except documents for impeachment only) to
be offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party'proceeding'p;g_se, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar‘ with_ pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and. define the triable issues, expedite the trial, and. save
expense. At the time of the conference, counsel and any party
proceeding p;g §§ will report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman
Christenson, When Is A Pre-Trial Conference A “Pre-Trial
Conference"?c 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth Circuit); see also Fed. R. Civ. P. 16.

IF AN ATTORNEY OR A PARTY PROCEEDING QBQ_§E FAILS TO APPEAR AT THE
PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT IS SO ORDERED.
ENTERED AS DIRECTED,

ROBERT R. DI TROLIO, CLERK

By: ['( `

Deputy lerk

DATE; (0,//'7'/0$

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:05-CV-01038 Was distributed by fax, mail, or direct printing on
June 17, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

